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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                     :       Case No. 3:17-cv-00072

                   Plaintiff                            :       Judge MOON
                                                                Mag. Judge Hoppe

                                                        :
           -v-

    JASON KESSLER et al.                                :

                                                        :
                   Defendants

    _______________________________________________________

                  DECLARATION OF JAMES E. KOLENICH
    _______________________________________________________



    I, James E. Kolenich, Esq., pursuant to 28 U.S.C. § 1746, declare as follows:

       1. I am one of the Attorneys representing Jason Kessler in this litigation.

       2. I submit this declaration in support of Mr. Kessler’s Response in Opposition to

           plaintiffs’ Motion for Direct Access.

       3. I am personally directing the “doc review” of Mr. Kessler’s ESI data.

       4. The subject email accounts are not large and can be reviewed, coded, and sent for

           production in 2 hours or less.

       5. That I sent accurate account credentials for the subject emails to the third party vendor

           on January 30, 2020.


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       6. That as of February 24, 2020 the vendor has not advised the subject emails are ready

           for review.



           I state under penalty of perjury the foregoing is true and correct. Signed on February

           24, 2020.

                                                        Signed,

                                                        s/James E. Kolenich 2/24/2020


                                  CERTIFICATE OF SERVICE

            I certify the above was served on February 24, 2020 on all ECF participants and that
    parties requiring service by other means were served as follows:

    Robert Ray
    azzmador@gmail.com
    Vanguard America c/o Dillon Hopper
    dillon_hopper@protonmail.com
    Elliott Kline eli.f.mosley@gmail.com deplorabletruth@gmail.com
    Matthew Heimbach matthew.w.heimbach@gmail.com
    Christopher Cantwell
    christopher.cantwell@gmail.com
    ChristopherCantwellBooking#20-00348
    StraffordCountyDept.ofCorrections
    226CountyFarm Road
    Dover,NH 03820

                                                        s/ James E. Kolenich
                                                        James E. Kolenich




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